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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Consolidated Transaction Processing LLC,

                      Plaintiff,

       v.                                           Civil Action No. 1:22-cv-2825-JBG

Johnny Was LLC,                                     JURY TRIAL DEMANDED

                      Defendant.


    AGREED MOTION FOR INITIAL EXTENSION OF TIME TO FILE ANSWER

       Plaintiff Consolidated Transaction Processing LLC (“CTP”) and Defendant Johnny Was

LLC (“Johnny Was”) file this Agreed Motion for an Initial Extension of Time to File Answer.

The parties respectfully show the following:

       CTP filed its Complaint (D.I. 1) in this matter on May 27, 2022. Defendant was served

with the Complaint on July 6, 2022 (see D.I. 8). The current deadline for Defendant to answer or

otherwise respond to the Complaint is July 27, 2022. Defendant has requested and CTP has

agreed to an extension of this deadline up to and including August 26, 2022.

       The parties respectfully request that this Court extend the deadlines for Defendant to

answer or otherwise respond to the Complaint up to and including August 26, 2022.
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Dated: July 20, 2022                 DEVLIN LAW FIRM LLC

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